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                     IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF PUERTO RICO

 CONCILIO DE SALUD INTEGRAL DE
 LOÍZA, INC.,                                    CIVIL NO. 17-1410 (DRD)

   Plaintiff,

     v.

 FELDESMAN,         TUCKER,          LEIFER,
 FIDELL, LLP, et al.,

   Defendants.



                                OPINION AND ORDER

       Pending before the Court is a Motion for Judgment on the Pleadings (Docket No. 14)

filed by Defendants, James Feldesman in his individual capacity, and Feldesman, Tucker,

Leifer, Fidell, LLP, which was opposed by Plaintiff (Docket No. 21) and replied by

Defendants (Docket No. 24). In synthesis, Defendants seek to dismiss the instant action

with prejudice because it is time barred and is also based in meritless grounds. See Docket

No. 14.

       For the reasons stated herein, the Court GRANTS Defendants’ Motion for Judgment

on the Pleadings (Docket No. 14).

                           I.       FACTUAL BACKGROUND

          In early 2007, co-defendant, James L. Feldesman, sent an engagement letter to

Plaintiffs submitting a proposal of professional services on behalf of him and his law firm

for the creation and development of a Health Maintenance Organization (hereinafter,

“HMO”), destined to “receive and manage a capitated Medicare managed care contract”.
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See Docket No. 1, ¶ 1. After receiving the proposal 1, Plaintiff2 entered into an Agreement

(hereinafter, “the 2007 Agreement”) with Defendants for the creation of the HMO. Id.

        Upon Plaintiffs’ contribution of $250,000.003, “the Defendants started working on

the development of the HMO entity with various consultants and experts. Id. ¶ 32. During

the professional relationship between the parties regarding the 2007 Agreement, Plaintiff

paid approximately $525,000.00 for Defendants’ services in forming the proposed HMO.

Id. As part of the legal representation provided by Defendants, a complaint was filed

before the United States District Court for the District of Columbia (Washington DC)

captioned Concilio de Salud Integral de Loíza, Inc. v. U.S. Department of Health and Human

Services, et al., Civil No. 07-CV-1034 (RMC). See Docket No. 13-7. The complaint was

eventually dismissed, Defendants then filing an appeal before the US Court of Appeals

for the District of Columbia Circuit under Civil No. 08-5072. The parties of the case in

appeal jointly requested its dismissal, which was granted by the Court of Appeals on July

28, 2009. Several updates were provided during the professional relationship between the

parties regarding the status of the project. See Docket Nos. 13-24 to 13-28. However, to




1 The proposal specifically stated the following: “Of course, as both of you know from the many times we
have discussed the new project and litigation already (and soon to be) brought with you and your Boards,
there is no certainty of success. What we will be doing is novel, depends on the outcome of litigation
(something that cannot be guaranteed), will face political hurdles and eventually will require funds from
other centers or investors or from your centers (out of future wraparound payments). I would have not
suggested the project unless I believed it had good prospects of success. Nevertheless, as I have previously
stated to both of you and your Boards, if all of us – your centers, the firm, the project team, and others who
join in – do this right and we get a little lucky, it can succeed, but the obstacles are formidable.” See Docket
No. 13-2.
2 Junta del Centro de Salud Comunal Dr. José S. Belaval, Inc., who is not a party in the instant case, also

showed interest in Defendants’ proposal. See Docket No. 1 ¶ 24.
3 Plaintiff and Junta de Centro de Salud Comunal Dr. José S. Belaval were to pay $250,000.00 separately to

Defendants for the creation of the HMO. Id. ¶ 30.

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this day, the HMO entity has not been formed. Id. On April 28, 2016, Plaintiffs informed

Defendants they had decided to contract the services of Mr. [Robert] Graham to continue

to represent the CSILO in the referenced case.”4 See Docket No. 13-30.

        On March 29, 2017, Plaintiff filed a complaint against Defendants for fraudulent

inducement (“Dolo”) pursuant to Articles 1217 et seq. of Puerto Rico’s Civil Code, 31

L.P.R.A. §§ 3404 et seq.; material breach of contract pursuant to Articles 1206 et seq.; and

Torts damages pursuant to Articles 1802 and 1803 of Puerto Rico’s Civil Code, 31 L.P.R.A.

§§ 5141-5142. Id. ¶ 3. Plaintiff is seeking compensatory, punitive, double and liquidated

damages and equitable and injunctive relief against Defendants. Id at ¶ 4. Defendants

seek to dismiss the instant action with prejudice because it is time barred and is also based

in meritless grounds. See Docket No. 14.

        However, prior to addressing the merits of said motion, the Court must review the

applicable legal foundation.


                                      II.     APPLICABLE LAW

A.      Motion for Judgment on the Pleadings

        Federal Rule of Civil Procedure 12(c) (“Rule 12(c)”) provides that a party may

move for judgment on the pleadings after the pleadings are closed, but early enough not

to delay trial. A motion under Rule 12(c) is treated much the same as a motion under Rule

12(b)(6)5. Aponte–Torres v. University of Puerto Rico, 445 F.3d 50, 54 (1st Cir.2006). The court


4Mr. Robert A. Graham is a former employee of Feldesman, Tucker, Leifer, Fidell, LLP.
5
 Rule 12(b)(6) provides the mechanism in order to raise defenses to a claim for relief. “A party may assert
the following defenses by motion: . . . (6) failure to state a claim upon which relief can be granted.” Fed. R.
Civ. P. 12(b)(6).


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must review the facts contained in the pleadings in the light most favorable to the non-

movant and draw all reasonable inferences in their favor. Id. “A court may not grant a

defendant's Rule 12(c) motion ‘unless it appears beyond doubt that the plaintiff can prove

no set of facts in support of his claim which would entitle him to relief.’ “Rivera–Gomez v.

de Castro, 843 F.2d 631, 635 (1st Cir.1988) (quoting George C. Frey Ready–Mixed Concrete,

Inc. v. Pine Hill Concrete Mix Corp., 554 F.2d 551, 553 (2nd Cir.1977)). To survive a Rule

12(c) motion, a complaint must contain factual allegations that raise a right to relief above

the speculative level. Perez–Acevedo v. Rivero–Cubano, 520 F.3d 26, 29 (1st Cir.2008). Under

Rule 12(c) there is no resolution of contested facts meaning that the court may enter

judgment on the pleadings only if the properly considered facts conclusively establish

the movant's point. R.G. Financial Corp. v. Vergara–Nunez, 446 F.3d 178, 182 (1st Cir.2006)

(citing Rivera–Gomez, 843 F.2d at 635).

       “Where a motion for judgment on the pleadings introduces materials dehors the

records for the court's consideration, the ground rules change.” Gulf Coast Bank & Trust

Co. v. Reder, 355 F.3d 35, 38 (1st Cir.2004). If the court does not exclude the outside

materials, the summary judgment standard governs the disposition of the motion. Id. A

court may convert a motion for judgment on the pleadings to a motion for summary

judgment when: (1) the party opposing the motion is given adequate notice of the

conversion, and (2) is given a reasonable opportunity to present material made pertinent

to the motion for summary judgment. Id. (citing Collier v. City of Chicopee, 158 F.3d 601,

603 (1st Cir.1998)). “Express notice is not required.” Id.



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        Inasmuch as the Court is only considering the pleadings submitted by the parties,

the Court must decide the instant case pursuant to Fed. R. Civ. P. 12(c) and not as a

motion for summary judgment.

B.      Statute of Limitations for Professional Malpractice

        Section 1802 of the Puerto Rico Civil Code provides that “[a] person who by an act

or omission causes damage to another through fault or negligence shall be obliged to

repair the damage so done.” P.R. Laws Ann. tit. 31, § 5141. Further, the Civil Code also

provides that “the following [actions] prescribe in one (1) year: (2) actions to demand civil

liability . . . and for obligations arising from the fault or negligence mentioned in § 5141

of this title, from the time the aggrieved person had knowledge thereof.” P.R. Laws Ann.

tit. 31, § 5298.

        Consequently, it is provided that personal injury actions carry a one-year statute

of limitations from the moment the aggrieved person has knowledge of the injury. 31

P.R. Laws Ann. tit. 31, § 5298; Rodriguez v. Suzuki Motor Corp., 570 F.3d 402, 406 (1st

Cir.2009) (“the statute of limitations starts to run once the injured party knows both that

he has suffered a harm and who is responsible for it.”). “The Supreme Court of Puerto

Rico has stated that a plaintiff will be deemed to have “knowledge” of the injury, for

purposes of the statute of limitation, when [he or] she has “notice of the injury, plus notice

of the person who caused it.” Rodríguez-Suris v. Montesinos, 123 F.3d. 10, 13 (1st Cir. 1997)

(citing Colon Prieto v. Geigel, 115 P.R. Dec. 232, ––––, 15 P.R. Offic. Trans. 313, 330 (1984)).

        Additionally, “[i]n Puerto Rico, “‘[p]rofessional malpractice actions are governed

by sec. 1802 of the Civil Code, 31 L.P.R.A. § 5141….’” Rosa v. Hospital Auxilio Mutuo, 620

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F.Supp.2d. 239 (D.P.R. 2009) (citing Ortega v. Pou, 1994 P.R.-Eng. 909,288, P.R. Offic.

Trans.), regardless of whether a contract is involved. See Rivera v. Dunscombe, 73 P.R.R.

764, 783 (1952); Sáez v. Municipality, 84 P.R.R. 515, 522–523 (1962); Colón Prieto v. Géigel,

115 D.P.R. 232, 238 [15 P.R. Offic. Trans. 313, 320–321] (1984); Chévere v. Cátala, 115 D.P.R.

432, 445 [15 P.R. Offic. Trans. 572, 587–588] (1984); see also López Flores v. Cruz Santiago,

526 F.Supp. 2d 188 (D.P.R. 2007) (holding that one-year statute of limitations governing

tort actions are applicable to legal malpractice actions.)

                                 III.   LEGAL ANALYSIS

       Plaintiff alleges that the 2007 Agreement constitutes a contract between the parties,

thus, the statute of limitations of 15 years for breach of contract is applicable in the instant

case. See P.R. Laws Ann. tit. 31, § 5294. Further, it is Plaintiff’s contention that since the

parties entered into a new “business contract” on March 2007, the breach of contract

action is timely.

       However, Plaintiff fails to demonstrate how its claims do not fall under

professional malpractice, having a statute of limitations of one (1) year instead of fifteen

(15). Moreover, the case law has been clear in establishing that professional malpractice

actions were governed by section 1802 of the Puerto Rico Civil Code, regardless of

whether there is a contract between the parties or not. Plaintiff’s contentions rely on

Defendants’ failure to form the HMO entity that was subject to the 2007 Agreement.

Notwithstanding, upon a careful review of the 2007 Agreement (Docket No. 13-2),

Defendants’ Amended Answer to Plaintiff’s Complaint (Docket No. 13) and the accompanying

exhibits, the Court is forced to conclude that the 2007 Agreement was a legal services

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agreement which forewarned Plaintiff as to the uncertainty of success of such action, and

the outcome could not be guaranteed.

       “Of course, as both of you know from the many times we have discussed
       the new project and litigation already (and soon to be) brought with you
       and your Boards, there is no certainty of success. What we will be doing is
       novel, depends on the outcome of litigation (something that cannot be
       guaranteed), will face political hurdles and eventually will require funds
       from other centers or investors or from your centers (out of future
       wraparound payments). I would have not suggested the project unless I
       believed it had good prospects of success. Nevertheless, as I have
       previously stated to both of you and your Boards, if all of us – your centers,
       the firm, the project team, and others who join in – do this right and we get
       a little lucky, it can succeed, but the obstacles are formidable.”

See Docket No. 13-2.

       Furthermore, by 2009, the case before the United States Court of Appeals had been

dismissed. Thus, it was by 2009 that Plaintiff knew of the injury that Defendants’

representation could have caused upon the institution and it was then when the statute

of limitations began to run for a claim against the attorneys for non-compliance with a

legal services agreement. Plaintiff filed the instant case on March 29, 2017. Plaintiff cannot

attempt to remedy its lack of action by claiming a statute of limitations greater than the

one conferred by law of one year since the date of the knowledge of the damages.

       Consequently, the Court finds that the instant case is time barred, hence must be

dismissed.

                                  IV.    CONCLUSION

       For the reasons elucidated above, the Court hereby GRANTS Defendants’ Motion

for Judgment on the Pleadings (Docket No. 14). Judgment of DISMISSAL with prejudice

is to be entered accordingly.

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IT IS SO ORDERED.

In San Juan, Puerto Rico, on this 6th day of March, 2018.

                                                S/Daniel R. Domínguez
                                                Daniel R. Domínguez
                                                United States District Judge




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